                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                            DOCKET NO. 3:15-cr-00213-MOC-DSC

 UNITED STATES OF AMERICA,                                )
                                                          )
                                                          )
                                                          )
 Vs.                                                      )                 ORDER
                                                          )
 THOMAS SNIFFEN,                                          )
                                                          )
                          Defendant.                      )


       THIS MATTER is before the Court on defendant’s Motion to Continue Motions

Deadlines. Having considered defendant’s motion and reviewed the pleadings, the Court enters

the following Order.

                                            ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion to Continue Motions

Deadlines (#169) is GRANTED, and the motions deadline is enlarged to June 15, 2018.



       Defendant is advised that this court prefers that motions to enlarge the motions deadline

be filed separately from motions to continue trial as the former can be granted by magistrate

judges and the later only by district judges.




 Signed: April 23, 2018




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